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 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                       CASE NO. CV F 07-1080 LJO GSA
12                         Plaintiff,                      ORDER TO RESET PRETRIAL
                                                           CONFERENCE
13          vs.
                                                           Date: January 7, 2010
14   NORTHERN CALIFORNIA                                   Time: 8:30 a.m.
     UNIVERSAL ENTERPRISES,                                Dept.: 4 (LJO)
15   INC., et al,
16                         Defendants.
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18          This Court sets no settlement conference with the unlikelihood of global settlement. To better
19   accommodate its schedule, this Court RESETS the pretrial conference for January 7, 2010 at 8:30 a.m.
20   in Department 4 (LJO). The parties’ counsel are encouraged to appear at the pretrial conference by
21   telephone by arranging a conference call and adding the Court at (559) 499-5680.
22          IT IS SO ORDERED.
23   Dated:       December 14, 2009                    /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
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